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                        Exhibit E
Search Warrant to              and Apple, Inc. dated October
                             22, 2019
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